Fill in this information to identify your case:


United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                PerfectWerks Solutions Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7829 Center Blvd SE, #257
                                  Snoqualmie, WA 98065
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Warehouse in Brewery District Tacoma, WA
                                                                                                  98402
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.perfectwerks.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    PerfectWerks Solutions Inc                                                                   Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4539

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

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Debtor   PerfectWerks Solutions Inc                                                                Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor   PerfectWerks Solutions Inc                                                                Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on          June 21, 2024
                                                     MM / DD / YYYY


                             X /s/       Nils Lahr                                                         Nils Lahr
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Laurie Thornton                                                         Date    June 21, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Laurie Thornton
                                 Printed name

                                 DBS Law
                                 Firm name

                                 155 NE 100th St., Suite 205
                                 Seattle, WA 98125
                                 Number, Street, City, State & ZIP Code


                                 Contact phone        (206) 489-3802             Email address      lthornton@lawdbs.com

                                 35030 WA
                                 Bar number and State




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                                                             United States Bankruptcy Court
                                                                     Western District of Washington
 In re      PerfectWerks Solutions Inc                                                                               Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Nils Lahr                                                           Common Stock 100%
 c/o Cairncross & Hempelmann P.S.
 524 Second Avenue, Ste 500

 Seattle, WA 98101


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       June 21, 2024                                                     Signature /s/ Nils Lahr
                                                                                            Nils Lahr

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                             United States Bankruptcy Court
                                                                     Western District of Washington
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                                                                                    Debtor(s)                Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        June 21, 2024                                              /s/ Nils Lahr
                                                                          Nils Lahr/President
                                                                         Signer/Title




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                        Avalara
                        255 South King Street, Suite 1200
                        Seattle, WA 98104


                        Avant Marketing Group
                        1982 Concourse Drive, Suite 150
                        Saint Louis, MO 63146


                        AvantLink
                        P.O. Box 35146
                        Seattle, WA 98124


                        Bearcat Media LLC
                        9 Musky Ridge Dr
                        Hackettstown, NJ 07840


                        Cairncross & Hempelmann P.S.
                        524 2nd Avenue #500
                        Seattle, WA 98104


                        CommerceHub
                        1201 Peachtree St NE Suite 600
                        Atlanta, GA 30361


                        D.A. International Group Inc.
                        1902 OCCIDENTAL AVE S
                        Seattle, WA 98134


                        Daniel McGinn
                        1136 SE 33rd Avenue
                        Portland, OR 97214


                        Elliott, Powell, Baden & Baker Inc.
                        1521 SW Salmon Street
                        Portland, OR 97205


                        Employment Security Dept. Wash. State
                        P.O. Box 9046
                        Olympia, WA 98507


                        Freshworks Studio
                        999 Third Avenue, Suite 700
                        Seattle, WA 98104


                        Hanover Insurance
                        440 Lincoln Street
                        Worcester, MA 01653


                        Inked Holdings LLC
                        25 First Ave. SW Ste A
                        Watertown, SD 57201


                        Internal Revenue Service
                        Centralized Insolvency Operation
                        Post Office Box 7346
                        Philadelphia, PA 19101-7346


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                        Joel Mendez-Marchetti
                        67338 Jones Road
                        Rainier, OR 97048


                        Kelsey Smith
                        1311 NW 49th Street
                        Vancouver, WA 98663


                        Kentech Creative Plastic & Mould Co Ltd
                        Unit 17 9/F Tower A New Mandarin Plaza
                        No 14 Science Museum Road Tsimshatsui K


                        Kimberlee Gunning
                        Goldfarb & Huck Roth Riojas PLLC
                        925 Fourth Avenue, Suite 3950
                        Seattle, WA 98104


                        Klaviyo
                        125 Summer Street
                        Boston, MA 02110


                        Leeper Sales LLC
                        c/o Beth Leeper 2535 Eagle Run Drive
                        Fort Lauderdale, FL 33327


                        Local Invest Fund I, LLC
                        2409 Milton Way
                        Milton, WA 98354


                        MODA Works
                        601 Union St Suite 1425
                        Seattle, WA 98101


                        Nils Lahr
                        c/o Cairncross & Hempelmann P.S.
                        524 Second Avenue, Ste 500
                        Seattle, WA 98101


                        Oregon Department of Revenue
                        955 Center St NE
                        Salem, OR 97301-2555


                        OrionsWave
                        7829 Center Blvd SE, #257
                        Snoqualmie, WA 98065


                        Resource Transition Consultants, LLC
                        Attn: Kevin Hanchett
                        4100 194th St SW
                        Lynnwood, WA 98036


                        Ryan Espegard
                        Gordon Thomas Honeywell LLP
                        520 Pike Street, Suite 1515
                        Seattle, WA 98101




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                        Shenzhen Subada Electric Appliance
                        2F, Building C, MinleIndustrial Park
                        Minzhi, Longhua NewDistrict Shenzhen, C


                        ShipStation
                        4301 Bull Creek Rd
                        Austin, TX 78731


                        Shopify
                        33 New Montgomery Street, Suite 750
                        San Francisco, CA 94105


                        SPS Commerce, Inc.
                        333 South Seventh Street Suite 1000
                        Minneapolis, MN 55402


                        Take Command Health
                        1410 E. Renner Rd. Suite 200
                        Richardson, TX 75082


                        Tasia Gonzales
                        3009 SE 184th Place
                        Gresham, OR 97030


                        Workman Nydegger
                        60 East South Temple, Suite 1000
                        Salt Lake City, UT 84111


                        WSA Properties LLC
                        90 NW Dogwood St.
                        Issaquah, WA 98027




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                                                                     United States Bankruptcy Court
                                                                       Western District of Washington
  In re      PerfectWerks Solutions Inc                                                                     Case No.
                                                                                      Debtor(s)             Chapter     11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for PerfectWerks Solutions Inc in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  June 21, 2024                                                          /s/ Laurie Thornton
 Date                                                                    Laurie Thornton
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for PerfectWerks Solutions Inc
                                                                         DBS Law
                                                                         155 NE 100th St., Suite 205
                                                                         Seattle, WA 98125
                                                                         (206) 489-3802 Fax:
                                                                         lthornton@lawdbs.com




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